                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION



THE UNITED STATES OF AMERICA,                         )
                                                      )
                       Plaintiff,                     )
                                                      )
               v.                                     )       1:21-cr-0047-JMS-DLP
                                                      )
RICKY BLYTHE,                                         )               -01
                                                      )
                              Defendant.              )



                                      PROTECTIVE ORDER

       This matter comes before the Court on the motion of the government to enter the

requested protective order.

       It is ordered that counsel for the defendant is not to photocopy or duplicate, in whole

or in part, attach, circulate, nor publish in any manner, other than to share same with his client

or other members of his law firm while maintaining the care, custody and control of same, the

reports, CDs and DVDs of photographs, recordings, and Jencks material provided by the

Government, for purposes of providing said materials to any other individual or entity,

including the defendant. Specifically, this Order includes the following discovery materials:

                       a.       All photographs, video, or audio recordings containing the voice

 or likeness of a confidential informant;

                       b.       All law enforcement reports (to include search warrant affidavits)

 describing or discussing the activities of any confidential informant;

                       c.       All law enforcement reports that describe or identify non-law
 enforcement witnesses, or contains information describing or discussing the activities of these

 law enforcement witnesses.



       It is so ORDERED.

       Date: __________                                __________________________________
                                                       JANE E. MAGNUS-STINSON
                                                       Chief Judge
                                                       Southern District of Indiana




Distribution to all registered counsel via electronic notification.
